Case 3:18-cv-00282-MMH-JBT Document 35 Filed 07/02/18 Page 1 of 2 PageID 530
    
    

                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


   ELIZABETH MICHELLE ANGELL
   and BRETT ANGELL, her husband,

                Plaintiffs,

   v.                                                       Case No. 3:18-cv-282-J-34JBT

   ALLERGAN SALES, LLC, a foreign
   limited liability company,

                Defendant.



                                           ORDER

         THIS CAUSE is before the Court on Plaintiffs’ Amended Motion for Leave to File

   Second Amended Complaint (Dkt. No. 34; Motion) filed on June 29, 2018. In the Motion,

   Plaintiffs seek leave to file a Second Amended Complaint in this matter. See Motion at 1.

   However, upon review of the Motion, it appears that Plaintiffs failed to provide adequate

   certification under Rule 3.01(g), Local Rules, United States District Court, Middle District

   of Florida (Local Rule(s)), confirming that they have conferred with Defendant in a good

   faith effort to resolve the issues raised by the Motion and advising the Court whether

   Defendant agrees to the relief requested. In the Motion, counsel for Plaintiffs advises the

   Court that he attempted to contact counsel for Defendant via phone and email on multiple

   occasions on June 29, 2018, but was unable to speak with counsel. See Motion at 5. Local

   Rule 3.01(g) specifically states that “certification to the effect that opposing counsel was

   unavailable for a conference before filing a motion is insufficient to satisfy the parties’
Case 3:18-cv-00282-MMH-JBT Document 35 Filed 07/02/18 Page 2 of 2 PageID 531
    
    

   obligation to confer.” Therefore, as Plaintiffs have once again failed to comply with the

   Local Rules of this Court, their Motion will be stricken.

          In light of the foregoing, it is

          ORDERED:

          Plaintiffs’ Amended Motion for Leave to File Second Amended Complaint (Dkt. No.

   34) is STRICKEN. Plaintiffs shall ensure that they sufficiently comply with Local Rule

   3.01(g) prior to filing motions with this Court.

          DONE AND ORDERED at Jacksonville, Florida this 2nd day of July, 2018.




   ja

   Copies to:

   Counsel of Record
